                              NUMBER 13-16-00314-CV

                              COURT OF APPEALS

                   THIRTEENTH DISTRICT OF TEXAS

                      CORPUS CHRISTI - EDINBURG
____________________________________________________________

CHANTELLA MARIE ROSALES,                                                        Appellant,

                                             v.

ROBERT JACOB MORALES,                               Appellee.
____________________________________________________________

             On appeal from the 148th District Court
                   of Nueces County, Texas.
____________________________________________________________

                           MEMORANDUM OPINION
        Before Chief Justice Valdez and Justices Garza and Longoria
                     Memorandum Opinion Per Curiam

       Appellant, Chantella Marie Rosales, appealed a judgment entered by the 148th

District Court of Nueces County, Texas. On June 17, 2016, the Clerk of this Court

notified appellant that the notice of appeal failed to comply with Texas Rule of Appellate

Procedure 9.5, and 25.1(d),(e). See TEX. R. APP. P. 9.5, and 25.1(d),(e). The Clerk

directed appellant to file an amended notice of appeal with the district clerk's office within
30 days from the date of that notice. On August 16, 2016, the Clerk notified appellant

that the defect had not been corrected and warned appellant that the appeal would be

dismissed if the defect was not cured within ten days. Appellant has not responded to

the notice from the Clerk or corrected the defect.

       An appellate court may dismiss a civil appeal for want of prosecution or failure to

comply with a notice from the clerk requiring a response or other action within a specified

time. See TEX. R. APP. P. 42.3(b),(c). The Court, having considered the documents on

file, and appellant’s failure to correct the defect, is of the opinion that the appeal should

be dismissed. See id. 37.3, 42.3(b),(c). Accordingly, the appeal is DISMISSED for want

of prosecution and failure to comply with a notice from the Court. See id.

                                                  PER CURIAM

Delivered and filed the
2nd day of September, 2016.




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